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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                 Magistrate Judge Craig B. Shaffer

   Civil Action:11-cv-01611-MSK-CBS                   FTR - Reporter Deck-Courtroom A402
   Date: January 28, 2013                             Courtroom Deputy: Robin Mason

   Parties:                                           Counsel:

   WESTERN         CONVENIENCE            STORES,     Kathleen E. Craigmile
   INC., et al.,                                      Kenneth Ronald Bennington
                                                      Philip Wayne Bledsoe

           Plaintiffs/Counter
           Defendants/ThirdParty Defendants,


   v.

   SUNCOR ENERGY (U.S.A.) INC., et al.,               Anthony J. Shaheen
                                                      Christopher Anthony Taravella
                                                      Michael Robert McCormick

           Defendants/Counter
           Claimants/ThirdParty
           Plaintiffs/Interested Party.



                            COURTROOM MINUTES/MINUTE ORDER

   HEARING: MOTION HEARING
   Court in Session:    1:30 p.m.
   Court calls case. Appearances of counsel.

   The court addresses the parties regarding the plaintiff’s Renewed MOTION for Order to on Motion
   Challenging Defendant Suncor's and Interested Party Dillon's Designation of Certain Documents
   and Data as "Highly Confidential" and "Secret" Pursuant to the Supplemental Protective Order
   (Docket No. 153, filed on 12/18/2012) and the interested parties MOTION to Quash or Modify
   Kroger and Wilson Subpoenas (Docket No. 159, filed on 1/3/2013).

   The court wants to start with the interested parties MOTION to Quash or Modify Kroger and
   Wilson Subpoenas (Docket No. 159, filed on 1/3/2013).
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   Mr. Bledsoe presents oral argument and engages in discussion with the court.

   Mr. Taravella presents oral argument and engages in discussion with the court.

   For reasons as stated on the record,

   ORDERED: The court DENIES AS MOOT the interested parties MOTION to Quash or Modify
            Kroger and Wilson Subpoenas (Docket No. 159, filed on 1/3/2013).

   The court moves next to the plaintiff’s Renewed MOTION for Order to on Motion Challenging
   Defendant Suncor's and Interested Party Dillon's Designation of Certain Documents and Data as
   "Highly Confidential" and "Secret" Pursuant to the Supplemental Protective Order (Docket No. 153,
   filed on 12/18/2012).

   Discussion between the court and the parties regarding the calling of witnesses who are present and
   how the parties interpret the phrase information “derived from".

   Ms. Craigmile presents oral argument and engages in discussion with the court.

   Mr. Shaheen presents oral argument and engages in discussion with the court.

   Mr. Taravella presents oral argument and engages in discussion with the court.

   Relevant case law cited by the court.

   The court shall take a recess in order to allow the parties to confer with their clients and decide if
   they will need to call their witnesses who are present.

   Court in recess:       2:04 p.m.
   Court in session:      2:34 p.m.

   Continued discussion between the court and the parties regarding the plaintiff’s Renewed MOTION
   for Order to on Motion Challenging Defendant Suncor's and Interested Party Dillon's Designation
   of Certain Documents and Data as "Highly Confidential" and "Secret" Pursuant to the Supplemental
   Protective Order (Docket No. 153, filed on 12/18/2012).

   Discussion between the court and plaintiff’s counsel regarding the above motion being viewed by
   the court as a motion for reconsideration, their MOTION for Order to Re-Designate Certain
   Discovery Material as Confidential Information (Docket No. 59, filed on 5/21/2012), the transcript
   of the hearing held on September 14, 2012, the transcript of the hearing held on October 11, 2012,
   and their expert’s affidavit. The court informs plaintiff’s counsel that it is inclined to give their
   expert an opportunity to provide a redacted summary.

   More relevant case law cited by the court.
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   Discussion between the court and Mr. Bennington regarding the plaintiff’s MOTION for Protective
   Order (Supplemental) (Docket No.139, filed on 10/16/2012), the SUPPLEMENTAL PROTECTIVE
   ORDER signed by Magistrate Judge Craig B. Shaffer (Docket No. 140, filed on 10/17/12), Rule 702,
   Rule 26(c), and related case law.

   For reasons as stated on the record (and as supported by case law cited on the record),

   ORDERED: The court shall treat this motion like a motion for reconsideration. The court
            DENIES the plaintiff's Renewed MOTION for Order to on Motion Challenging
            Defendant Suncor's and Interested Party Dillon's Designation of Certain Documents
            and Data as "Highly Confidential" and "Secret" Pursuant to the Supplemental
            Protective Order (Docket No. 153, filed on 12/18/2012). The court will not change
            the designation nor will it require, based on the showing set forth in this motion, that
            Dillon or Suncor change those designations. The court informs the parties that it
            feels that the phrase information "derived from" is too broad.

   The court encourages and recommends that plaintiff’s counsel prepare a redacted version of the
   report that meets the literal intent and the spirit unlined in the supplemental protective order.
   Plaintiff’s counsel should then provide this redacted report to counsel for Suncor and counsel for
   Dillion. Once this is done, the parties should have a meet and confer regarding the redacted report
   to see if any further action is necessary.

   The court informs that if someone wants to file an objection to the court’s decision, the fourteen
   days shall start from today’s date.

   HEARING CONCLUDED.

   Court in recess:         3:18 p.m.
   Total time in court:     01:18

   To order transcripts of hearings with Magistrate Judge Shaffer, please contact Avery Woods Reporting at (303)
   825-6119 or toll free at 1-800-962-3345.
